Case 5:24-cv-00717-OLG-HJB   Document 95-4
                                      82-6   Filed 05/08/25
                                                   04/15/25   Page 1 of 3




                     Exhibit F
               Case 5:24-cv-00717-OLG-HJB         Document 95-4
                                                           82-6      Filed 05/08/25
                                                                           04/15/25       Page 2 of 3



                          ]
                     },
                     {
                          "id": "84efcc6c-0dec-4809-9be7-4d7715bdd333",

                        "type": "message",
                        "timestamp": "2022-12-26T03:30:15.000",
                        "deleted": false,
                        "blocks": [
                            {
                                "text": "Leave him room to respond with \r\n\r\n
            \u201cYes, as long as I can film it as well\u201d type shit (which he
            will) and I\u2019ll say\r\n\r\n Respectfully, you\u2019re in no grounds to
            make requests. You cleverly edited a video, why can\u2019t I? Invite
            remains open :)\r\n\r\n Best,\r\n\r\n Logs"
                            }
                        ]
                    },
                    {
                        "id": "d3ab2783-f180-4b75-b87d-e5354f1673c7",

                          "type": "message",
                          "timestamp": "2022-12-26T03:30:20.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "That\u2019s what I\u2019m saying"
                              }
                          ]
                     },
                     {
                          "id": "d0b654e4-c8f7-4d76-981c-92cc8ec8d2d0",
                          "
                          "type": "message",
                          "timestamp": "2022-12-26T03:30:23.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "I won\u2019t even post it"
                              }
                          ]
                     },
                     {
                          "id": "a67e66f2-512c-48a9-b545-be6605eb7631",

                          "type": "message",
                          "timestamp": "2022-12-26T03:30:29.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "Just use in a defamation case"
                              }
                          ]
                     },




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               Case 5:24-cv-00717-OLG-HJB         Document 95-4
                                                           82-6      Filed 05/08/25
                                                                           04/15/25       Page 3 of 3



                     {
                          "id": "de124257-e6f9-4628-ac7b-0aab454f717d",

                          "type": "message",
                          "timestamp": "2022-12-26T03:30:31.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "If we do it"
                              }
                          ]
                     },
                     {
                          "id": "baa53f97-e8df-48ac-a80b-20d92b8279b0",

                          "type": "message",
                          "timestamp": "2022-12-26T03:30:34.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "Just to make his life difficult"
                              }
                          ]
                     },
                     {
                          "id": "04420931-890a-4aff-be80-b8d319cc6336",

                          "type": "message",
                          "timestamp": "2022-12-26T03:30:56.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "Even tho it may be tough but. We have a case"
                              }
                          ]
                     },
                     {
                          "id": "07c8aeaa-00b2-401a-9ec7-5c51c93c937a",

                          "type": "message",
                          "timestamp": "2022-12-26T03:31:00.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "I\u2019ll just make it tough for him"
                              }
                          ]
                     },
                     {
                          "id": "9b5ced93-9878-4bb4-8b50-fb8b98f8e6d8",

                          "type": "message",
                          "timestamp": "2022-12-26T03:31:05.000",
                          "deleted": false,




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